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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


 CARLTON HARRIS,

        Plaintiff,

 v.                                              Civil Action No. 1:18-cv-2390-ABJ

 DISTRICT OF COLUMBIA,

        Defendant.


                               PROTECTIVE ORDER

       Under Fed. R. Civ. P. 26(c) and it appearing that discovery is likely to involve the

disclosure of Confidential Information, IT IS STIPULATED AND ORDERED that:

I.     Confidential Information

       A.      Information Subject To This Protective Order: The following categories of

information produced by a party may be designated as CONFIDENTIAL under this

Protective Order:

              i.      personal information, including, but not limited to, an individual’s
                      home address, telephone number, date of birth, social security
                      number, all personal information that pertains to the financial affairs
                      and health (physical or mental) of the plaintiffs, and/or any other
                      personal information unique to such individual;

             ii.      non-public information contained in an employee or former
                      employee’s personnel file, disciplinary file and/or adverse action
                      file;

            iii.      non-public information concerning the safety and security of the
                      D.C. Jail and its present and former inmates;

            iv.       information protected by or specifically prohibited from release by
                      statute or regulation;

       B.      As set forth below, information and things that are stamped

“CONFIDENTIAL” and meet the definition of material that falls within the definition of
                                             1
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Section IA shall not be disclosed by any party for any purpose other than discovery, trial,

and any appeals in this action and the following cases: Austin Plummer v. District of

Columbia, et al., 19-cv-453 (KBJ), Don Perrow v. District of Columbia, 19-1649 (RDM),

and Khiry Malik v. District of Columbia, 19-cv-3454 (CRC) (collectively, the “Other

Cases”).

              i.       Plaintiff’s counsel must obtain a release from Plaintiff in order to
                       use in the Other Cases information and things that are stamped
                       “CONFIDENTIAL” and contain personal information about
                       Plaintiff.

             ii.       The parties’ agreement that information and things that are
                       stamped “CONFIDENTIAL” may be used in the Other Cases does
                       not constitute (a) an admission that such information and things are
                       actually relevant to the Other Cases, or (b) a waiver of any
                       evidentiary objections as to the use such information and things in
                       the Other Cases.

       C.      Notwithstanding the foregoing, to the extent that any database material is

utilized by parties or experts retained by the parties to prepare opinions or statistical

analyses, summaries, or compilations that do not disclose any personally-identifiable

confidential information regarding individuals, said opinions, statistical analyses,

summaries, or compilations will not be deemed CONFIDENTIAL and may be included

as part of the public record in this case and the Other Cases.

II.    Timing and Classification of Confidential Information

       A.      Marking of Documents of Things

              i.       Any party wishing to designate information as CONFIDENTIAL

                       INFORMATION shall at the time of production stamp or

                       otherwise mark the produced document or other thing with the

                       word(s) “CONFIDENTIAL” or “CONFIDENTIAL

                       INFORMATION.”
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      ii.    If a party produces data from a database (“Exported Data”), it may

             designate data within a field or fields of the Exported Data as

             CONFIDENTIAL, if the data in the field satisfies the definition set

             forth in Section I.A. Such CONFIDENTIAL data will fall within

             the terms of this Order. Any compilation or subset of the Exported

             Data that contains data from fields marked as CONFIDENTIAL

             can only be disclosed as specificed in this Order. Any document

             containing Exported Data designated as CONFIDENTIAL shall be

             treated as CONFIDENTIAL.

     iii.    Any party wishing to designate information provided by another

             party or a non-party as CONFIDENTIAL shall submit to the other

             parties, within twenty business days following production or

             disclosure, a written designation of the documents or things

             containing such information. During the twenty business days

             following production by a party, or non-party, all such documents

             and things shall be deemed to contain and/or constitute

             CONFIDENTIAL INFORMATION.

     iv.     The parties shall make a good-faith effort to designate

             CONFIDENTIAL INFORMATION properly and with the

             appropriate classification at the time of production. However,

             inadvertent or unintentional disclosure by any party of

             CONFIDENTIAL INFORMATION without any, or the

             appropriate, classification regardless of whether the

             CONFIDENTIAL INFORMATION was designated at the time of
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                       disclosure, shall not be deemed a waiver of a party’s claim of

                       confidentiality, either as to a specific document or information, and

                       the parties shall, upon notice, treat such CONFIDENTIAL

                       INFORMATION according to the correct designation and

                       classification. A receiving party shall make a good faith effort to

                       locate and mark appropriately any CONFIDENTIAL

                       INFORMATION upon receipt of such notice.

III.    Handling of Confidential Information

        A.     CONFIDENTIAL INFORMATION will be treated during this action,

               including appeal, as follows:

        All CONFIDENTIAL INFORMATION shall be treated as proprietary, and shall

be disclosed or provided only to: (1) counsel who are attorneys of record (including such

counsel’s partners, shareholders, associates, associated counsel, paralegal, interns,

secretarial, technical and clerical personnel); (2) experts employed by such counsel for

consultation or to render expert reports under Fed. R. Civ. P. 26(a)(2) (and the secretarial

and clerical personnel of such experts); (3) technical consultants or vendors and all

related staff retained to handle discovery including but not limited to electronic

discovery; and (4) court personnel, certified court reporters and the parties’ respective

copy vendors and other litigation support vendors. Any information designated

“CONFIDENTIAL” by the producing party shall be treated as proprietary, and shall not

be used or disclosed by any receiving party for any purpose, other than as specified

during discovery, trial, and/or any appeal in this action and the Other Cases.

        B.     Information
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       All persons (other than court personnel and the persons identified in Section III.A

above) authorized to have access to CONFIDENTIAL INFORMATION under this

Protective Order shall sign a statement acknowledging their agreement to the terms of

this Protective Order in the form of Exhibit A.

IV.    Challenges to Confidentiality Designations

       A.      If any party disagrees at any stage with the designation of any information

as CONFIDENTIAL, the parties shall first try to resolve the dispute in good faith

informally. Any receiving party may request that the producing or designating party

withdraw the CONFIDENTIAL designation regarding any information. Any such request

shall be made in writing, served on counsel for the producing or designating party, and

shall identify: (a) the CONFIDENTIAL INFORMATION that the receiving party

contends is improperly designated; and (b) the basis for the receiving party’s objection(s)

to the designation.

       B.      If the parties cannot resolve their dispute informally, the receiving party

may object to the designation by motion before the Court. The burden of proving the

confidentiality of the designated information shall be borne by the party that produced the

information and/or designated it CONFIDENTIAL. If a motion is filed, the initial

CONFIDENTIAL designation shall remain in place until the Court rules on such motion

and thereafter shall be governed by the Court’s ruling. If the parties cannot resolve their

dispute informally, and a party elects to file no motion with the Court, the initial

CONFIDENTIAL designation shall remain in place.

       C.      The acceptance by any party of any information designated

CONFIDENTIAL shall not constitute evidence, an admission or concession that the

information is confidential or proprietary.
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V.     Confidential Information at Depositions

       A.      Other than Court personnel and Court reporters, only the parties, counsel

of record for the parties, the witness (including his or her attorney), and experts who have

signed the Exhibit A agreement may be present at any examination concerning

CONFIDENTIAL INFORMATION of another party or a third party.

       B.      A party may designate as CONFIDENTIAL any information, testimony or

exhibit disclosed or obtained during a deposition that meets the definition of Section I.A

by indicating on the record during the deposition that such is CONFIDENTIAL and

subject to this Protective Order. Whenever any information designated as

CONFIDENTIAL that meets the definition of Section I.A is marked as an exhibit during

a deposition, the exhibit shall be separately bound and placed in a sealed envelope

bearing the CONFIDENTIAL designation, unless the parties stipulate otherwise in

writing prior to the deposition or at the deposition on the record. Any party who objects

to any CONFIDENTIAL designation made at or during a deposition must note the

objection on the record. The CONFIDENTIAL designation of material that meets the

definition of Section I.A shall remain in place, and the objecting party shall be barred

from publicly disclosing the information, testimony, transcript or exhibit designated as

CONFIDENTIAL without the prior approval of the Court or the withdrawal of the

designation by the designating party.

       C.      All deposition transcripts shall be treated as CONFIDENTIAL

INFORMATION subject to the Protective Order for twenty days after receipt of each of

the transcripts. Notwithstanding the passage of twenty business days, if opposing counsel

has not disseminated information subject to this Protective Order, the right to so

designate shall remain, subject to challenge. If such a challenge is made, the party
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allowing the twenty business days to pass shall have to show that the information has not

become part of the public domain.

       D.      Deposition transcripts, testimony or exhibits designated as

CONFIDENTIAL shall only be disclosed to the named parties, their counsel of record,

their experts who have signed the Exhibit A agreement, the Court and its personnel, and

the court reporter. No third party shall be allowed access to any deposition transcript,

testimony or exhibit designated as CONFIDENTIAL unless he or she first executes the

declaration attached as Exhibit A, acknowledging and agreeing to be bound by the terms

of this Protective Order.

VI.    Confidential Information in Court Filings

       A.      Information designated as “CONFIDENTIAL” under this Protective Order

that meets the definition of Section I.A does not lose its designation if that information is

subsequently filed with the Court by any designating party, non-designating party or a

third party, whether that submission is made by written motion, pleading, memorandum

or any other submission to the court, including, without limitation, any demonstratives,

attachments, transcript, appendices, and/or exhibits submitted to the Court.

       B.      If a designating party, non-designating party or a third party intends to file

with the Court any transcripts, depositions, exhibits, answers to interrogatories, and other

information previously designated CONFIDENTIAL under this Protective Order, such

filing must be in accordance with LCvR 5.1(h), meaning that the party must file an

accompanying motion for leave to file under seal. Following this procedure does not

preclude the filing party from challenging the designation of any information filed

pursuant to this procedure as CONFIDENTIAL under the procedure outlined in Section

IV.
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VII.    Use of Confidential Information in Open Court

        A.     CONFIDENTIAL INFORMATION does not lose its designation as such

if that information is subsequently offered during hearings, at trials, or otherwise in open

court by any party or a third party, whether elicited or presented through argument and/or

objections in open court, statements to the jury, direct examination, cross-examination

and/or redirect examination, or through any demonstratives, attachments, transcripts

appendices, and/or exhibits offered in open court.

        B.     The use of CONFIDENTIAL INFORMATION during hearings, at the

trial, or otherwise in open court shall be subject to such protection as the Court shall

determine. Nothing in this Protective Order shall be deemed a waiver of any right to

object on any ground to the admission in evidence of any CONFIDENTIAL

INFORMATION. A party that intends to introduce its own CONFIDENTIAL

INFORMATION at a hearing or trial shall be responsible for taking appropriate measures

with the Court to maintain its confidentiality. If a party intends to introduce an

opponent’s CONFIDENTIAL INFORMATION, it shall notify the opponent in writing

before it intends to introduce the opponent’s CONFIDENTIAL INFORMATION. If the

opponent desires to maintain the confidentiality of its material, it shall be responsible for

taking appropriate measures to maintain its confidentiality.

VIII. Exclusion of Public Domain Information

        A.     Nothing in this Protective Order shall preclude any party to the lawsuit,

their attorneys or any other person from disclosing or using, in any manner or for any

purpose, any information in the public domain, if such information is lawfully obtained

from another source, such as a third party having the right to disclose such information.

IX.     Non-Waiver of Privileges and Objections
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       A.      Nothing in this Protective Order shall be construed to require the

production of CONFIDENTIAL INFORMATION privileged or otherwise protected from

disclosure (Protected Material). The entry of this Protective Order shall not constitute a

waiver by any party of any objection to the disclosure or production of any information

or material during discovery.

       B.      Nothing in this Protective Order shall be construed to mean that the

production of CONFIDENTIAL INFORMATION (in whole or in part) constitutes either:

(i) an admission by any party that the produced information is relevant, authentic, or

properly produced, or (ii) a waiver of any right properly to withhold from production any

other document.

       C.      Nothing in this Protective Order shall prevent any person from asserting

the attorney-client privilege, the work-product doctrine, or any privilege or immunity as

to any discovery, including any discovery that may have been inadvertently produced.

       D.      The production or disclosure of an attorney-client privileged, attorney

work product, or other protected document or information medium (Protected Material)

shall not be deemed a waiver of the privilege, work product, or other protection or

immunity from discovery by the producing party in this or any subsequent state or federal

proceeding under Federal Rule of Evidence 502, regardless of the circumstances of

disclosure. If any party learns of the production or disclosure of Protected Material by

any other party, that party shall provide written notice of such production or disclosure

within three days. Upon such notice, the receiving party shall immediately return or

destroy the Protected Material. Nothing shall be construed to prevent the party returning

the disclosed Protected Material from seeking production of any documents under the

Federal Rules of Civil Procedure.
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X.     Miscellaneous

       A.      Nothing in this Protective Order shall be construed as limiting or

otherwise restricting a party’s use of its own CONFIDENTIAL INFORMATION for any

purpose or as requiring District employees to sign an acknowledgement prior to obtaining

such information.

       B.      This Protective Order shall survive the final termination of this litigation

and shall continue to apply to all CONFIDENTIAL INFORMATION that has not

properly become a matter of public record. Following final termination of this litigation,

this Court shall retain jurisdiction over the parties and all persons who received access to

CONFIDENTIAL INFORMATION under the terms of this Protective Order.

       C.      This Protective Order shall be binding upon the parties, upon their

attorneys, and upon the parties and their attorneys’ successors, executors, personal

representatives, administrators, heirs, legal representatives, assigns, subsidiaries,

divisions, officers, directors, employees, agents, and independent contractors, and other

persons or organizations over which they have control.

       D.      Nothing in this Protective Order shall bar or otherwise restrict any

attorney from rendering advice to the attorney’s party-client regarding this action, and in

the representation, relying upon an examination of CONFIDENTIAL INFORMATION;

provided, however, that in rendering such advice and in otherwise communicating with

the party-client, the attorney shall not disclose the proprietary substance of any

CONFIDENTIAL INFORMATION nor the source of any CONFIDENTIAL

INFORMATION to anyone not authorized to receive such documents, things, materials

or information under the terms of this Protective Order.
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       E.      Within thirty days after the final termination of this action and all of the

Other Cases, including all appeals, and unless otherwise required by law, the attorneys

for each party shall assemble and return to the opposing party all CONFIDENTIAL

INFORMATION produced by the opposing party or shall destroy all copies which

respective parties have in their possession, custody, or control. The attorneys for the

parties may retain all pleadings and litigation documents, including exhibits and their

own memoranda, containing CONFIDENTIAL INFORMATION but such litigation

documents and memoranda shall be used only to preserve a file on this action and the

Other Cases, and shall not without the written permission of the opposing party or an

Order of this Court, be disclosed to anyone other than the outside attorneys to whom such

information was disclosed, under this Protective Order during this action.

       F.      In the event that a party seeks discovery from a third party to this action,

that third party may invoke the terms of this Protective Order in writing to all parties to

this suit and produce any such discovery in accordance with, and subject to the terms of

this Order.




                                      THE HONORABLE AMY BERMAN JACKSON
                                      Judge, United States District Court
                                      for the District of Columbia


        February 21, 2020
Dated: _______________
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          EXHIBIT A




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 CARLTON HARRIS,

          Plaintiff,

 v.                                                    Civil Action No. 1:18-cv-2390-ABJ

 DISTRICT OF COLUMBIA,

          Defendant.


                       ACKNOWLEDGEMENT OF CONFIDENTIALITY

         I understand that confidential documents, testimony, and information may be revealed to

me for purposes of the above-captioned lawsuit. I have been advised that, by agreement among

the parties, as ordered by the Court, such documents, testimony, and information may not be used

for any purposes other than the prosecution or defense of this lawsuit.

         I certify that I have read the Protective Order. I agree to maintain the confidentiality of any

documents, testimony, and information provided to me and to abide by the terms of the Protective

Order.

         I have been advised that any unauthorized use or disclosure by me of any confidential

documents, testimony, and information will be treated as a breach of the Protective Order and I

may be liable for damages and subject to sanctions.

         I agree to subject myself to the jurisdiction of the Court for enforcement of the Agreement.



Dated: _____________________                    ________________________________
                                                PRINT NAME

                                                _________________________________
                                                SIGNATURE

                                                   1
